                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                             Civil Action No. 5:19-cv-495-BO

 EVANSTON INSURANCE COMPANY, )
                                               )
                Plaintiff,                     )
                                               )
 v.                                            )
                                                     DEFAULT JUDGMENT
                                               )
 C9SS , INC. f/k/a CLOUD 9 VAPOR,              )
 LLC, and ALANNA BRIDGERS,                     )
                                               )
                Defendants.                    )
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                                              ORDER

       THIS MATTER is before the Court on Plaintiff, Evanston Insurance Company' s, Motion

for Default Judgment and Memorandum in support against Defendants C9SS , Inc. f/k/a Cloud 9

Vapor, LLC ("C9SS") and Alanna Bridgers ("Bridgers") (collectively "Defendants"). For the

following reasons, Plaintiff's motion is granted :

       The Summons and Complaint have been properly served upon Defendants. Defendants

have failed to answer or otherwise respond to the Complaint within the time allowed by law.

Default has been entered against Defendants, and Defendants have failed to respond to Plaintiff's

Motion for Default Judgment.

       THEREFORE, as provided by Rule 55(a) and (b) of the Federal Rules of Civil Procedure

and Local Civil Rule 55 .1 , Default Judgment is entered against Defendants C9SS , Inc. f/k/a Cloud

9 Vapor, LLC and Alanna Bridgers.




          Case 5:19-cv-00495-BO Document 26 Filed 08/06/20 Page 1 of 4
                                        FACTUAL FINDINGS

       Upon default, the well-pleaded facts           in the Complaint are deemed admitted .

See DIRECTV, Inc. v. Rawlins, 523 F.3d 318, 329 (4th Cir. 2008); Hampshire Ins. Co. v. Royster,

5:16-CV-106-BO, 2017 WL 1378120, at *2 (E.D.N.C. Apr. 12, 2017).

       Based on the well-pleaded facts in the Complaint, the following facts are established:

    1. Evanston Insurance Company issued Commercial General Liability Policy No. 2CZ5614

to Cloud 9 Vapor, LLC n/k/a C9SS , Inc. for the policy period August 17, 2017 to August 17, 2018

(the "Policy").

   2. The Policy does not include a "Products/Completed Operations Aggregate Limit." (ECF

1, 127.)

   3. In addition, the Policy ' s "Products-Completed Operations Hazard" exclusion (the

"products exclusion"), precludes coverage for "bodily injury" included in the "products-completed

operations hazard." (Id. , 1131-35 .)

   4. The Policy defines the "products-completed operations hazard" to include "bodily injury"

"occurring away from premises you own or rent" and arising out of "your product." "Your

product" is defined to include "any goods or products ... manufactured, sold, handled, distributed

or disposed of by" C9SS , as well as " [w]arranties or representations made at any time with respect

to the fitness, quality, durability, performance or use of ' your product" ' and the "providing of or

failure to provide warnings or instructions." (Id. , 1134-35 .)

   5. Additionally, the Policy contains an endorsement entitled "Designated Premises or Project

Limitation" (the "premises endorsement"). (ECF I, 1 41.) The premises endorsement limits

coverage to "bodily injury" ... arising out of the ownership, maintenance, or use of designated

premises. (Id.,   1 42.)   The endorsement identifies the designated premises as: (l) 4205 Wake




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           Case 5:19-cv-00495-BO Document 26 Filed 08/06/20 Page 2 of 4
Forest Road, Ste. 201, Raleigh North Carolina; (2) 4607 Fayetteville Road, Raleigh, North

Carolina; and 3) 12516 Capital Boulevard, Ste. 103 , Wake Forest, North Carolina. (ECF 1, 144.)

   6. On August 6, 2019, Bridgers filed a Complaint against Cloud 9 in the Wake County, North

Carolina, Superior Court Division, captioned Alanna Bridgers v. Cloud 9 Vapor, LLC, case

number 19-CVS-l 0681 (the "Bridgers Action"). (ECF l , 1 9, Ex. A.)

   7. ln the Bridgers Action, Bridgers alleges that on February 25 , 2018, she purchased two " LG

HG2 batteries" (the "LG batteries") from C9SS for use in a vaping device. (Id.,   1 16.)
   8. The Bridgers Action alleges that C9SS mishandled, tampered with, or damaged the LG

batteries and that the LG batteries were inherently dangerous, unsafe, or defective in a number of

ways. (Id., 1116-23 .)

   9. The Bridgers Action further alleges that on February 25 , 2018 , after Bridgers left the

premises of C9SS, she was injured when the LG batteries failed and exploded when she attempted

to use the vaping device. (Id. , 124.)

                                         CONCLUSION

   WHEREFORE, the Court declares as follows:

   1. As to Count I of the Complaint, Evanston Insurance Company has no duty to defend or

indemnify C9SS in the Bridgers Action under the Policy because the Bridgers Action involves

alleged "bodily injury" that is included within the scope of the products exclusion;

   2. As to Count II of the Complaint, Evanston Insurance Company has no duty to defend or

indemnify C9SS in the Bridgers Action under the Policy because the Bridgers Action involves

alleged "bodily injury" that did not arise out of the ownership, maintenance or use of a "designated

premises" as required by the premises endorsement; and




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          Case 5:19-cv-00495-BO Document 26 Filed 08/06/20 Page 3 of 4
   3. The Policy does not provide insurance coverage for any relief or damages sought or

recovered by Alanna Bridgers in connection with the Bridgers Action.




                                              4

         Case 5:19-cv-00495-BO Document 26 Filed 08/06/20 Page 4 of 4
